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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                             Case No. 1:18-cv-25106 (KMW)(EGT)
   __________________________________________
                                                )
   UNITED AMERICAN CORP., a Florida             )
   company,                                     )
                                                )
          Plaintiff,                            )
                                                )
   v.                                           )
                                                )
   BITMAIN, INC., SAINT BITTS LLC d/b/a         )
   BITCOIN.COM, ROGER VER, BITMAIN              )
   TECHNOLOGIES LTD., BITMAIN                   )
   TECHNOLOGIES HOLDING COMPANY,                )
   JIHAN WU, PAYWARD VENTURES, INC.             )
   d/b/a KRAKEN, JESSE POWELL,                  )
   AMAURY SECHET, SHAMMAH                       )
   CHANCELLOR, and JASON COX,                   )
                                                )
          Defendants.                           )
   __________________________________________)


         DEFENDANTS PAYWARD VENTURES, INC.’S AND JESSE POWELL’S
                   MOTION TO DISMISS THE COMPLAINT



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                                            INTRODUCTION
             All of United American Corp.’s claims against Payward Ventures, Inc. (“Kraken”1) and
   Jesse Powell should be dismissed with prejudice pursuant to Rule 12(b)(6) of the Federal Rules
   of Civil Procedure. In its 122-paragraph complaint, UAC musters only two paragraphs
   containing specific allegations as to either Kraken, a cryptocurrency exchange, or Powell, its
   CEO. The allegations against these defendants are reed thin and fail on both the law and facts.
             UAC’s complaint centers around a cryptocurrency called Bitcoin Cash2 and a “network
   upgrade” to Bitcoin Cash that happened on November 15, 2018. Kraken, a leading and well-
   respected cryptocurrency exchange, permits its customers to exchange various cryptocurrencies
   (such as Bitcoin, Ethereum, and Bitcoin Cash) for each other or for fiat currencies (such as U.S.
   Dollars and Yen). UAC is an alleged developer of technology and equipment for “mining”
   Bitcoin Cash, but it is not alleged to be (and is not) a competing cryptocurrency exchange, or
   even a customer3 of Kraken. At a high level, “mining” is a process of validating the accuracy of
   transactions on the Bitcoin Cash network (or as it is often called “blockchain”). Mining requires
   special technology and computers to do its work and is generally more profitable for mining
   operations the higher the price of Bitcoin Cash, since they are paid by the network in newly
   issued Bitcoin Cash. A network like Bitcoin Cash often has thousands, if not tens of thousands,
   of people “mining.”
             Ultimately, UAC’s complaint is an elaborate contrivance to attempt to hold defendants,
   including Kraken and Powell, liable for the “broader, macro-economic[] . . . market forces” that
   have caused a dramatic decline in the value of Bitcoin Cash over the past year, and have made
   mining Bitcoin Cash much less profitable. (See Compl. ¶¶ 31, 36, 39-40, 79.) UAC allegedly
   entered the Bitcoin Cash mining business in March 2018. Since then, the market price of Bitcoin
   Cash has steadily declined, from over $1,500 in May 2018, to around $420 on November 14,


   1
     The complaint names “Payward Ventures, Inc. d/b/a/ Kraken” as a defendant in the caption and
   alleges that it “is registered in San Francisco County as the owner of the fictitious business name
   ‘Kraken’ and operates the Bitcoin exchange Kraken.com.” (Compl. ¶ 13.) Without conceding
   these allegations, Payward Ventures, Inc. uses the trade name “Kraken” in this motion for ease of
   reference, given that the complaint has done so.
   2
       Bitcoin Cash is related to, but different from, the well-known “Bitcoin” cryptocurrency.
   3
    Kraken has diligently searched its records, and plaintiff UAC has no registered account on
   Kraken’s exchange platform under that name.


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   2018 – a decline of over 70% – slashing the economic reward for mining Bitcoin Cash. There is
   no allegation that Kraken and Powell (or any of the other defendants for that matter) had
   anything whatsoever to do with this massive market correction. UAC made an untimely
   business bet; nothing more.
           In a misguided attempt to shift blame, UAC has brought a federal antitrust conspiracy
   claim and a kitchen sink of state-law claims against various entities and individuals, including
   Kraken and Powell, predicated on the November 2018 “network upgrade” of Bitcoin Cash.
   Although cryptocurrencies, like Bitcoin Cash, are still relatively new and novel, the
   shortcomings of UAC’s complaint are not.
           With regard to the antitrust claim, Count I, the complaint fails to state even the most basic
   elements of a viable Sherman Act Section 1 offense. Among other things, it utterly fails to
   connect Kraken and Powell to the purported conspiracy in any plausible way. Nor does the
   purported conspiracy make any economic sense: the complaint does not provide any rationale for
   why Kraken or Powell or any other defendant would have had any incentive to conspire to lower
   Bitcoin Cash prices. The complaint also does not allege that lower Bitcoin Cash prices (or the
   network upgrade more generally) were bad for consumers or competition. Instead of alleging a
   plausible antirust theory, UAC complains of increased competition – not reduced competition.
   This, of course, flies in the face of the explicit aim of the antitrust laws, which is to foster and
   promote increased and vigorous competition, not to condemn it.
           UAC’s state law claims do not fare any better. Three counts – negligent
   misrepresentation (Count II), negligence (Count III), and equitable estoppel (Count IV) – boil
   down to the same flawed theory that Kraken and Powell purportedly owed duties to UAC that
   they breached. But the complaint does not actually allege any legally relevant duty or
   representation that was breached. The complaint likewise fails to state a claim for conversion
   (Count VI), given that UAC fails to plead any possessory interest, let alone one that Kraken or
   Powell commandeered. The remaining causes of action in the complaint are not pleaded against
   either Kraken or Powell.
           UAC’s complaint is fatally flawed, particularly with regard to Kraken and Powell, and its
   deficiencies cannot be cured by amendment. Accordingly, dismissal with prejudice, even at this
   stage, is appropriate and should be granted.




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                                           BACKGROUND
          UAC’s complaint offers a muddled, confusing explanation of the technologies at issue
   that is bereft of specific allegations against both Kraken and Powell. But the gist of UAC’s
   allegations is that the often-undifferentiated defendants – many of whom share little in common
   apart from their alleged involvement in the cryptocurrency space – conspired and agreed “to
   manipulate the cryptocurrency market for Bitcoin Cash effectively hijacking the Bitcoin Cash
   network, centralizing the market, and violating all accepted standards, protocols and the course
   of conduct associated with Bitcoin since its inception.” (Compl. ¶ 1.) Bitcoin Cash is one of
   thousands of competing forms of cryptocurrencies that currently exist. It was created in 2017
   when a disagreement over how to address scaling led to a fork with Bitcoin. (Id. ¶ 57.)
          UAC allegedly entered the Bitcoin Cash mining business in March 2018. (Id. ¶ 38.) Its
   business, as a miner, involves validating the accuracy of Bitcoin Cash transactions on the
   network (or, as it is often called, “blockchain”). For doing so, the network pays it in newly
   issued Bitcoin Cash. (See id. ¶¶ 24-25, 39.) On March 1, 2018, the market price of Bitcoin Cash
   was around US $1,200.4 By May 6, 2018, the market of price had increased to around $1,700.
   Since then, the price has steadily declined. By November 14, 2018, the day before the “network
   upgrade” at issue here, the price had declined to around $420.
          The purported triggering event for this lawsuit is a Bitcoin Cash “network upgrade” that
   occurred on November 15, 2018. (Id. ¶¶ 41, 43, 66.) That “network upgrade” led to two
   competing versions of Bitcoin Cash: Bitcoin SV and Bitcoin ABC. UAC alleges that certain of
   the defendants implemented a “poison pill” into the blockchain by adding a “centralized
   checkpoint” in a location close to the tip of the blockchain, which in essence favored Bitcoin
   ABC over Bitcoin SV. (Id. ¶¶ 69-70.)
          UAC does not allege that it was improper or even ill-advised to upgrade the Bitcoin Cash
   network. Nor does UAC allege that Bitcoin SV is superior to or should have been adopted
   instead of Bitcoin ABC. UAC also does not allege that its business depends on mining Bitcoin
   SV, or that it (or anyone else) has been prevented from mining Bitcoin ABC.



   4
    See CoinMarketCap, BitCoin Cash, https://coinmarketcap.com/currencies/bitcoin-cash/. The
   Court may take judicial notice of Bitcoin Cash prices, which are “not subject to reasonable
   dispute” and “a proper subject” for notice. See La Grasta v. First Union Secs., Inc., 358 F.3d
   840, 842 (11th Cir. 2004) (judicial notice of stock price under Fed. R. Evid. 201(b)).


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          The complaint’s theory of injury appears to be that the process by which the Bitcoin Cash
   network was upgraded “created uncertainty and a lack of confidence in the network” and thus
   “loss of value of the currency.” (Id. ¶¶ 77-79.) There is no allegation in the complaint as to why
   any defendant, including Kraken and Powell, would have wanted to create any loss of value of
   Bitcoin Cash.
          Overall, UAC’s complaint presents Kraken and Powell as periphery players with no
   alleged ties to UAC. As to Kraken, a cryptocurrency exchange based in San Francisco,
   California, and Powell, its CEO, the complaint alleges that after the alleged “takeover of Bitcoin
   Cash” by other defendants, Kraken and Powell: (1) “decided that Kraken would maintain the
   BCH ticker for the ABC chain;” and (2) “indicated to users that the SV chain was a high-risk
   environment.” (Id. ¶ 76.) The complaint has failed to plead whether this was a unilateral
   decision made by Powell, or as part of the alleged conspiracy with the other defendants.
          UAC also alleges that Kraken “agreed to implement centralized checkpoints.” (Id. ¶ 74.)
   No details are pleaded as to the time, place, reason, or participants of that purported agreement.
   Nor does the complaint allege that UAC is a competitor or customer of Kraken (or Powell), or
   has any relationship with Kraken or Powell at all. (They are not and did not, and in fact, this
   allegation cannot be reconciled with UAC’s allegations as to the involvement of other
   defendants.) As the complaint alleges, “Bitcoin ABC through defendants Amaury Sechet,
   Shammah Chancellor, and Jason Cox implemented a ‘poison pill’ in the chain referred to as a
   ‘checkpoint.” (Id. ¶ 69.) UAC thus refers to the “decision by Bitcoin ABC.” (Id. ¶ 72.)
          The complaint does not cite or refer to any law, rule, code, or regulation that required
   Kraken to choose Bitcoin SV over ABC for the BCH ticker. (There is none.) Nor does the
   complaint address any law, rule, code, or regulation that prohibits implementation of a
   “centralized checkpoint.” (Because, again, there is none.) And while the complaint later implies
   that the Whitepaper and unspecified “standards and protocols” govern the behavior of
   participants in the Bitcoin Cash network, UAC nowhere alleges what conduct these supposed
   principles require or prohibit.
                                         LEGAL STANDARD
          To survive a Rule 12(b)(6) motion to dismiss, a complaint must “state a claim for relief
   that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007) (upholding
   district court’s dismissal of antitrust claims). To satisfy factual plausibility, a complaint must



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   plead “factual content that allows the court to draw the reasonable inference that the defendant is
   liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). To meet this
   standard, a complaint must state enough facts to raise the right to relief “above a speculative
   level.” Twombly, 550 U.S. at 555.
          A complaint premised upon “labels and conclusions” or “naked assertion[s]” without
   supporting factual allegations, as here, will not suffice. Id. at 555, 557. A complaint must
   “contain enough information regarding the material elements of a cause of action to support
   recovery under some viable legal theory.” Am. Fed’n of Labor & Cong. of Indus. Orgs. v. City
   of Miami, Fla., 637 F.3d 1178, 1186 (11th Cir. 2011); see also Mun. Util. Bd. of Albertville v.
   Ala. Power Co., 934 F.2d 1493, 1501 (11th Cir. 1991) (“A plaintiff must plead sufficient facts so
   that each element of the alleged antitrust violation can be identified.”).
          To state a claim upon which relief can be granted, UAC must also allege the actions as to
   each defendant. Undifferentiated allegations as to a mass of “defendants” does not suffice. See
   Lane v. Capital Acquisitions & Mgmt. Co., No. 04-60602 CIV, 2006 WL 4590705, at *5 (S.D.
   Fla. Apr. 14, 2006) (“By lumping all the defendants together in each claim and providing no
   factual basis to distinguish their conduct, the complaint fails to satisfy the minimum standard of
   Rule 8.”), aff’d, 322 F. App’x 675 (11th Cir. 2009).
          Additionally, claims sounding in fraud – such as negligent misrepresentation – must meet
   the strict pleading standards of Federal Rule of Civil Procedure 9(b). Ceithaml v. Celebrity
   Cruises, Inc., 207 F. Supp. 3d 1345, 1349 (S.D. Fla. 2016) (Williams, J.). “In allegations of
   fraud or mistake, a party must state with particularity the circumstances constituting fraud or
   mistake.” Fed. R. Civ. P. 9(b). Rule 9(b) likewise requires that UAC make specific allegations
   as to each defendant; it does not allow a complaint to lump together all defendants. Ambrosia
   Cole & Constr. Co. v. Pages Morales, 482 F.3d 1309, 1317 (11th Cir. 2007).
                                              DISCUSSION
   I.     UAC Fails To Plausibly Allege An Actionable Antitrust Conspiracy Exists
          UAC’s antitrust claim, Count I, is defective for numerous reasons. Count I alleges that
   the defendants engaged in a conspiracy in unreasonable restraint of trade in violation of Section
   1 of the Sherman Act (15 U.S.C. § 1) and Section 4 of the Clayton Act (15 U.S.C. § 15).




                                                          5
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   (Compl. ¶ 81.) Section 4 sets forth the standing requirement for an antitrust violation,5 and
   Section 1 lays out the elements for the substantive antitrust violation. To establish a violation of
   Section 1, a plaintiff must show: (1) a contract, combination, or conspiracy among two or more
   entities that; (2) unreasonably restrains trade in a relevant market; (3) affects interstate or foreign
   commerce; (4) causes antitrust injury; and (5) causes damages. Todorov v. DCH Healthcare
   Auth., 921 F.2d 1438, 1455, 1459 (11th Cir. 1991).
          UAC has not alleged a plausible antitrust claim, nor can it, for a variety of reasons. The
   complaint’s fatal defects are, as the following discussion will demonstrate: (a) the conspiracy
   theory makes no economic sense; (b) no unlawful conduct is alleged; (c) no recognized “per se”
   offense is alleged; (d) the requisite elements of a “rule of reason” case are not alleged; and (e) the
   complaint fails to plead antitrust standing or a cognizable antitrust injury. Any one of these
   defects alone gives the Court ample grounds to dismiss the complaint with prejudice under Rule
   12(b)(6). The Court should exercise its authority and do so.
          a.      UAC’s Antitrust Conspiracy Theory Fails Because It Makes No Economic
                  Sense
          A starting point for any antitrust claim is it must make “economic sense.” Williamson
   Oil Co. v. Philip Morris USA, 346 F.3d 1287, 1302 (11th Cir. 2003). UAC’s claim does not.
          Kraken and Powell are not competitors of UAC, are not in the same business as UAC,
   and do not have any business relationship with UAC. The complaint does not allege otherwise,
   nor could it. There is no plausible inference that Kraken or Powell had any economic incentive
   to injure UAC’s business in any way.
          Furthermore, the complaint gives absolutely no explanation as to why Kraken or Powell
   would have any economic interest in “hijacking the Bitcoin Cash network”, “manipulat[ing] the
   cryptocurrency market for Bitcoin Cash,” creating “significant uncertainty and a lack of
   confidence in the network,” and ultimately causing a “loss of value of the currency.” (Compl.
   ¶¶ 78-79, 83.) They would not: Kraken is a top-rated, reputable, and secure exchange, providing
   a platform for users to buy, sell, and trade cryptocurrencies. If anything, because exchanges
   make the most money in a market with rising prices, Kraken and Powell would want Bitcoin
   Cash to succeed, not fail as UAC alleges.


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    Section 4 provides in pertinent part that “any person who shall be injured in his business or
   property by reason of anything forbidden in the antitrust laws may sue therefor . . . .”


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          UAC’s failure to allege a plausible economic rationale for Kraken’s or Powell’s supposed
   role in this conspiracy requires dismissal.
          b.      UAC’s Conspiracy Theory Is Not Supported By Sufficient Factual
                  Allegations Of Any Unlawful Anticompetitive Conduct
          In the 122-paragraph complaint, specific allegations concerning the conduct of Kraken
   and Powell appear in only paragraphs 74 and 76. Kraken and Powell are accused, in sum, of
   having purportedly: (1) “decided that Kraken would maintain the BCH ticker for the ABC
   chain”; (2) “indicated to users that the SV chain was a high-risk environment”; and (3) “Kraken
   agreed to implement centralized checkpoints.” (Id.)
          At the threshold, these bare bones and amorphous allegations do not meet the standard of
   specificity required for an antitrust conspiracy claim. The scope and the nature of the purported
   conspiratorial agreements are not identified, nor are the persons, dates, places, or reasons for the
   alleged conspiratorial actions. See Kendall v. VISA U.S.A., Inc., 518 F.3d 1042, 1047-48 (9th
   Cir. 2008) (recognizing antitrust complaint must answer the basic questions of “who, did what,
   to whom (or with whom), where, and when?”); see also Duty Free Americas, Inc. v. Estee
   Lauder Cos., Inc., 946 F. Supp. 2d 1321, 1332 (S.D. Fla. 2013) (same). The complaint therefore
   fails to sufficiently allege a meeting of the minds between the co-conspirators and a conscious
   commitment to a common scheme to achieve an unlawful objective, as is required to state an
   antitrust claim. See Procaps S.A. v. Patheon, Inc., 845 F.3d 1072, 1081 (11th Cir. 2016);
   Helicopter Support Sys. Inc. v. Hughes Helicopter, Inc., 818 F.2d 1530, 1535 (11th Cir. 1987).
          Also, the conduct that is specifically alleged against Kraken and Powell, i.e., paragraphs
   74 and 76, does not come close to the level of an antitrust violation, for numerous reasons,
   including the following.
          First, the allegation that Kraken “indicated to users that the SV chain was a high-risk
   environment” does not give rise to an antitrust violation. It is well-settled that purported
   disparaging remarks or opinions directed at a competitor or its products/services are not
   actionable under the Sherman Act unless “clearly false.” See Duty Free Americas, Inc. v. Estee
   Lauder Cos., Inc., 797 F.3d 1248, 1268-69 (11th Cir. 2015) (“[A] plaintiff alleging
   anticompetitive disparagement must allege, at a minimum, statements that were demonstrably
   false in order to survive a motion to dismiss.”). However, “even false statements about a single
   competitor often do not meet the requisite standard of generating harm to competition.” Id. at
   1268; see also Aquatherm Indus. v. Fla. Power & Light Co., 145 F.3d 1258, 1263 (11th Cir.


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   1998) (defendant’s dissemination of “false information” not sufficient to support a Section 1
   antitrust claim); Spanish Broad. Sys. of Fla., Inc. v. Clear Channel Commc’ns, Inc., 376 F.3d
   1065, 1072, 1076-77 (11th Cir. 2004). Indeed, most courts “have adopted a presumption that
   misrepresentations or false statements about a competitor have a de minimis effect on
   competition.” Duty Free Americas, 797 F.3d at 1268-69.
          The complaint fails to overcome these hurdles. The complaint does not specifically
   allege when or how Kraken or Powell supposedly “indicated” that Bitcoin SV was a high-risk
   investment. In any event, there is no allegation that any such statement was untrue. In fact, this
   Court can, and should, judicially notice as a true fact that all cryptocurrencies are high-risk
   investments and exist in a high-risk environment. Further, none of the alleged statements or
   opinions, as alleged in paragraph 76, were even directed towards UAC. Moreover, UAC cannot
   overcome the presumption that any such statements would have a de minimis effect, having not
   alleged any connection between the alleged statement and any causal damages.
          Second, endorsement or adoption of a product, standard, and/or service generally does
   not violate the antitrust laws. See, e.g., N. Am. Soccer League, LLC v. U.S. Soccer Fed’n, Inc.,
   883 F.3d 32, 32 (2d Cir. 2018) (denying preliminary injunction against national soccer
   foundation’s application and adoption of standards designating divisional levels of play);
   Weight-Rite Golf Corp. v. U.S. Golf Ass’n, 766 F. Supp. 1104, 1111 (M.D. Fla. 1991) (noting
   that USGA’s ability to decrease the marketability of a manufacturer’s golf shoes by amending its
   rules of play did not constitute rule of reason antitrust violation); Jessup v. Am. Kennel Club, 61
   F. Supp. 2d 5, 13 (S.D.N.Y. 1999) (upholding standard governing purebred dogs). One
   exchange’s decision to recognize one type or faction of cryptocurrency over another or to assign
   a ticker symbol to one on an exchange, which is the wrongful conduct UAC alleges Kraken and
   Powell engaged in, does not run afoul of the antitrust laws.
          Similarly, antitrust defendants, like Kraken and Powell, are under no obligation to
   predisclose their business plans or advise or warn others on how to invest or allocate their
   resources. See Cal. Computer Prods. v. IBM Corp., 613 F.2d 727, 744 (9th Cir. 1979) (antitrust
   defendant “under no duty to help” other manufacturer competitors “to survive or expand”);
   Berkey Photo v. Eastman Kodak Co., 603 F.2d 263, 281 (2d Cir. 1979) (antitrust defendant does
   “not have a duty to predisclose information” about new products/services or changes to existing
   ones). In short, despite what the complaint alleges, using a ticker symbol on an exchange or



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   recognizing a blockchain, like Bitcoin SV or ABC, as an “official” blockchain or as “the
   ‘winner’ of the network upgrade,” cannot serve as predicate acts for an antitrust violation where
   there is no alleged plausible harm to competition. (Compl. ¶ 76.)
           Finally, a “checkpoint” is a line of code that provides enhanced security and aids in
   protecting against block reorganization attacks. Even if implementation of centralized
   checkpoints caused some level of incompatibility or inaccessibility, however, such conduct is not
   unlawful. See, e.g., Allied Orthopedic Appliances Inc., v. Tyco Health Care Grp. LP, 592 F.3d
   991 (9th Cir. 2010) (product redesign or improvements which caused incompatibility were not
   unlawful); Transamerica Computer, Inc. v. IBM Corp., 698 F.2d 1377 (9th Cir. 1983) (design
   changes to interface did not violate Sherman Act).
          c.      UAC Fails To State A “Per Se” Antitrust Violation
          There is a “presumption” that claims brought under Section 1 of the Sherman Act, like
   Count I, are to be evaluated under “rule of reason” scrutiny, rather than invoking “per se”
   analysis. Retina Assocs. P.A. v. So. Baptist Hosp. of Fla., Inc., 105 F.3d 1376, 1381 (11th Cir.
   1997); Seagood Trading Corp. v. Jerrico, Inc., 924 F.2d 1555, 1567 (11th Cir. 1991).
          Some violations of Section 1, however, are deemed to be illegal per se “because of their
   pernicious effect on competition and lack of any redeeming value.” N. Pac. Ry. v. United States,
   356 U.S. 1, 5 (1958); see also Seagood, 924 F.2d at 1567. Such per se antitrust offenses are
   recognized as “naked restraints of trade with no purpose except stifling competition.” White
   Motor Co. v. United States, 372 U.S. 253, 263 (1963).
          Per se violations “are limited to a very small class of antitrust practices whose character
   is well understood and that almost always harm competition,” including “horizontal price fixing
   among competitors, group boycotts, and horizontal market division.” Jacobs v. Tempur-Pedic
   Int’l, Inc., 626 F.3d 1327, 1334 (11th Cir. 2010); see also Texaco Inc. v. Dagher, 547 U.S. 1, 5
   (2006); United States v. Topco Assocs., Inc., 405 U.S. 596, 607-08 (1972). For the reasons
   discussed below, UAC’s antitrust claim, does not fit within any of these recognized per se
   categories, or any type of antitrust offense. See Scranton Constr. Co. v. Litton Indus. Leasing
   Corp., 494 F.2d 778, 782-83 (5th Cir. 1974) (the Sherman Act is not a “panacea for all business
   affronts which seem to fit nowhere else”).
          The Supreme Court has admonished “that the per se label should be applied infrequently
   and with caution.” Seagood, 924 F.3d at 1567 (citing Bus. Elecs. Corp. v. Sharp Elecs. Corp.,



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   485 U.S. 717, 727 (1988)). Per se treatment is to be applied “only when history and analysis
   have shown that in sufficiently similar circumstances the rule of reason unequivocally results in a
   finding of liability.” Consultants & Designers, Inc. v. Butler Serv. Grp., Inc., 720 F.2d 1553,
   1562 (11th Cir. 1983); Seagood, 924 F.2d at 1567 (same). Before applying the per se rule, the
   judiciary must have “considerable experience” with the business practices at issue so that the
   economic impact of such practices is immediately apparent. Broadcast Music, Inc. v. Columbia
   Broadcasting System, Inc., 441 U.S. 1, 9 (1979); Leegin Creative Leather Prods., Inc. v. PSKS,
   Inc., 551 U.S. 877, 886 (2007); see also Levine v. Cent. Fla. Med. Affiliates, Inc., 72 F.3d 1538,
   1550 (11th Cir. 1996)) (“[T]his Court is loath to condemn a practice as per se violative of the
   antitrust laws unless experience has shown that it always leads to anticompetitive effects in the
   market.”).
          UAC’s claim does not meet these exacting standards. Its convoluted case appears to be,
   after a diligent search by defense counsel, the first antitrust action brought in the United States
   involving the dynamic and constantly evolving cryptocurrency industry. Accordingly, no court
   has yet had “considerable experience” in deciding whether the alleged “hijacking” of a single
   cryptocurrency network is a per se automatic violation of the federal antitrust laws. Nor has
   UAC shown that the conduct at issue even remotely fits within the definition of any of the
   handful of historically recognized per se antitrust offenses, nor could it.
          Additionally, Kraken is not alleged to be a horizontal competitor with the other
   defendants in any market. Some of the defendants have no relationship at all, and others sit in
   vertical relationships. Per se antitrust scrutiny is not implicated when aspects of verticality, as
   here, exist. See Leegin, 551 U.S. at 901; Jacobs, 626 F.3d at 1335 (“non-price vertical restraints
   are inappropriate for per se condemnation”).
          d.      UAC Fails To State A Plausible “Rule Of Reason” Antitrust Claim
          Because UAC cannot demonstrate that its antitrust claim is subject to per se analysis for
   the reasons discussed above, its claim must then meet all of the stricter requirements of “rule of
   reason” scrutiny. The “rule of reason” legality inquiry is intended to determine “whether the
   restraint imposed is such as merely regulates and thereby promotes competition or whether it is
   such as may suppress or even destroy competition.” Levine, 72 F.3d at 1551 (quoting Chi. Bd. of
   Trade v. United States, 246 U.S. 231, 238 (1918)). The complaint fails to state a claim under a
   rule of reason analysis.



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          To establish a “rule of reason” claim under Section 1 of the Sherman Act, “a plaintiff
   may show either actual or potential harm to competition.” Jacobs, 626 F.3d at 1336. To show
   actual harm, “[t]he plaintiff has the burden of demonstrating damage to competition with specific
   factual allegations.” Id. To show potential harm, the plaintiff must (1) “define the relevant
   market”; (2) “establish that the defendants possessed power in that market”; and (3) show “some
   other ground for believing that the challenged behavior could harm competition in the market,
   such as the inherent anticompetitive nature of the defendant's behavior or the structure of the
   interbrand market.” Spanish Broad., 376 F.3d at 1073. The Complaint fails to allege a relevant
   market, power within that relevant market, or facts showing actual or potential effects on
   competition. UAC therefore fails to state a valid “rule of reason” claim under either the actual or
   potential harm test.
                          i. UAC Does Not Define a Plausible Relevant Market
          The complaint fails to allege both a relevant product market and a relevant geographic
   market. A relevant product market is defined in part by whether a group of providers or
   suppliers, “because of the similarity of their products, have the ability – actual or potential – to
   take significant amounts of business away from each other.” U.S. Anchor Mfg. v. Rule Indus.,
   7 F.3d 986, 995 (11th Cir. 1993). A properly defined relevant “market is composed of products
   that have reasonable interchangeability.” United States v. E.I. du Pont de Nemours & Co., 351
   U.S. 377, 404 (1956); see also Levine, 72 F.3d at 1552. A viable relevant product market
   definition also requires allegations concerning cross-elasticity of demand and supply concerning
   potential inclusion of products or services in the market. See U.S. Anchor, 7 F.3d at 995-97; Am.
   Key Corp. v. Cole Nat. Corp., 762 F.2d 1569, 1580 (11th Cir. 1985).
          Nowhere in the complaint does UAC allege or define a “relevant” product market. There
   are a few fleeting references, without any elaboration, to a “cryptocurrency market for Bitcoin
   Cash.” (See Compl. ¶¶ 1, 5, 82, 84). No details, however, are provided as to what this purported
   “market” comprises and what players participate in that narrow single cryptocurrency market.
   Moreover, there are no allegations as to what products or services might compete with or be
   substitutes for Bitcoin Cash, such as other types of existing cryptocurrencies (of which there are
   thousands), commodities, precious metals, Dollars, Euros, Yen, etc. Finally, there is no mention
   or analysis of cross-elasticities of demand or supply between Bitcoin Cash and other substitutes.
   This blatant pleading deficiency is fatal to UAC’s antitrust claim.



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           A relevant geographic market is also not alleged. “The relevant product market must also
   be accompanied by proof of the relevant geographic market. This is the ‘area of effective
   competition’ within which the parties operate.’” Ad-Vantage Telephone Directory Consultants,
   Inc. v. GTE, 849 F.2d 1336, 1342 (11th Cir. 1987) (quoting Standard Oil Co. v. United States,
   337 U.S. 293, 299 (1949)); see also L.A. Draper & Son v. Wheelabrator-Frye, Inc., 735 F.2d
   414, 423 (11th Cir. 1984) (geographic market is “the area in which the product or its reasonably
   interchangeable substitutes are traded”). The complaint is devoid of any allegations that define
   the dimensions or parameters of a relevant geographic market. Both the defendants and the
   Court are thus left guessing as to whether the geographic market encompasses the world, the
   nation, a state, or a region.
           Without defining a relevant market, UAC cannot plead potential harm to competition.
                       ii. UAC Does Not Allege Market Power
           Turning to the next part of the “rule of reason” test, a plaintiff must also “establish that
   the defendant had market power in a well-defined relevant market.” Maris Dist. Co. v.
   Anheuser-Busch, Inc., 302 F.3d 1207, 1216 (11th Cir. 2002). “Market power is the ability to
   raise price significantly above the competitive level without losing all of one’s business.”
   Graphic Prods. Dist. v. Itek Corp., 7167 F.2d 1560, 1570 (11th Cir. 1983); see also Levine, 72
   F.3d at 1555) (plaintiff must “prove that the defendants had sufficient power to adversely affect
   competition.”). In some instances, evidence of a high market share can be used to show market
   power. Graphic Prods. Dist., 7167 F.2d at 1570.
           The only scant allegation UAC makes concerning Kraken’s size/power is in a footnote:
   “It [Kraken exchange] purports to be the largest Bitcoin exchange in Euro volume and liquidity.”
   (Compl. ¶ 76 n.8.) This smidgen of an allegation adds nothing to the market power analysis. It
   provides no information concerning Kraken’s market share in any defined relevant market, its
   ability to control or raise prices, its ability to affect competition, or the size or identity of any of
   its competitors. Also conspicuously missing is any explanation as to any motive or reason for
   Kraken to want to manipulate the price of Bitcoin Cash on its exchange – much less in a way that
   allegedly lowered the price of Bitcoin Cash. Lastly, there is no market power allegation directed
   at Powell. Failure to plead market power is yet another reason UAC cannot show potential harm
   to competition.




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                      iii. UAC Does Not Allege Any Actual Or Potential Cognizable Injury To
                           Competition As A Whole
          In a “rule of reason” case, the plaintiff must also establish either: (1) “‘actual detrimental
   effect’ on competition” as a whole, Procaps, 845 F.3d at 1084 (quoting F.T.C. v. Ind. Fed’n of
   Dentists, 476 U.S. 447, 460-61 (1986)); or (2) a potential effect on competition. “Actual
   anticompetitive effects include, but are not limited to, reduction of output, increase in price, or
   deterioration in quality.” Jacobs, 626 F.3d at 1339. It is the plaintiff’s burden to show “damage
   to competition with specific allegations” – mere conclusory assertions are not sufficient. Id.; see
   also Procaps, 845 F.3d at 1084. Alternatively, the plaintiff may plead potential effect on
   competition, which requires, in addition to “defin[ing] the relevant market and establish[ing] that
   the defendants possessed power in that market,” a description of “how the defendants' alleged
   behavior would be likely to harm competition.” Spanish Broad. 376 F.3d at 1073-74.
          Rather than alleging potential or actual harm to competition, the complaint affirmatively
   alleges an increase in competition: it alleges that the network upgrade resulted in more
   competing blockchains. The complaint also does not allege that Bitcoin ABC was inferior to
   Bitcoin SV, or that any market participant has been excluded. Under these circumstances,
   UAC’s conclusory allegation that the purported “market manipulation” was “severely
   detrimental to the market overall” (Compl. ¶ 77) is insufficient to carry its burden in pleading
   anticompetitive effects on any level or form of competition.
          Ultimately, UAC has alleged only injury to itself resulting from a decline in Bitcoin Cash
   prices. That is not enough to state an antitrust claim because the “antitrust laws are intended to
   protect competition, not competitors.” Levine, 72 F.3d at 1551; Procaps, 845 F.3d at 1086 (harm
   to an individual competitor will not suffice); Spanish Broad., 376 F.3d at 1071 (“Anticompetitive
   effects” are measured by their detrimental impact on competition, “rather than by their impact on
   competitors”).
          e.        UAC Lacks “Antitrust Standing” To Maintain This Antitrust Action
          UAC does not possess the requisite antitrust standing to bring its antitrust claim.
          In the Eleventh Circuit, antitrust standing is analyzed using a two-pronged test that
   “involves consideration of the nexus between the antitrust violation and the plaintiff’s harm and
   whether the harm alleged is of the type for which Congress provides a remedy.” Sunbeam
   Television Corp. v. Nielsen Media Research, Inc., 711 F.3d 1264, 1271 (11th Cir. 2103); see also
   Palmyra Park Hosp., Inc. v. Phoebe Putney Mem’l Hosp., 604 F.3d 1291, 1299 (11th Cir. 2010).


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   Under this approach, the first step requires a plaintiff to allege an “antitrust injury.” Palmyra,
   604 F.3d at 1299. Second, “the plaintiff must be an efficient enforcer of the antitrust laws.” Id.
           Absent antitrust standing, the claim must be dismissed. Even if UAC were to plead an
   antitrust violation has occurred – “‘Congress did not intend the antitrust laws to provide a
   remedy in damages for all injuries that might conceivably be traced to an antitrust violation.”
   Todorov, 921 F.2d at 1448 (quoting Associated Gen. Contractors, Inc. v. Cal. State Council of
   Carpenters, 459 U.S. 519, 534 (1983)). “The doctrine of antitrust standing reflects prudential
   concerns and is designed to avoid burdening the courts with speculative or remote claims.”
   Sunbeam, 711 F.3d at 1270. Finally, the determination of antitrust standing is a question of law.
   Austin v. Blue Cross and Blue Shield of Ala., 903 F.2d 1385, 1387 (11th Cir. 1990).
           UAC’s antitrust claim fails under both prongs.
                        i. UAC Has Not, And Cannot, Demonstrate Any “Antitrust Injury”
           An “antitrust injury” is an “injury of the type the antitrust laws were intended to prevent
   and that flows from that which makes the defendants’ acts unlawful.” Brunswick Corp. v.
   Pueblo Bowl-O-Mat, Inc., 429 U.S. 477, 489 (1977); see also Todorov, 921 F.2d at 1449
   (showing antitrust injury is a necessary requirement to prove antitrust standing). It is a well-
   settled maxim of antitrust jurisprudence that the antitrust laws were enacted for “the protection of
   competition, not competitors.” Brunswick, 429 U.S. at 488 (emphasis added). At best, UAC has
   alleged only a speculative injury to itself, not to any “competition” in any relevant market. This
   is not a cognizable antitrust injury.
           Further, UAC must demonstrate that its claimed loss “stems from a competition-reducing
   aspect or effect of the defendant’s behavior.” Atl. Richfield Co. v. USA Petroleum Co., 495 U.S.
   328, 344 (1990). This strict limitation on recovery increases the likelihood that “enforcement of
   the antitrust laws will further the same goal of increased competition.” Austin, 903 F.2d at 1389-
   90. Here, the crux of UAC’s antitrust claim runs counter to this fundamental principle. UAC is
   complaining that it has been injured by reason of increased competition, not reduced
   competition. Specifically, UAC alleges that as a consequence of the alleged conduct, Bitcoin
   Cash is now a “forked currency” leaving “two resulting currencies,” instead of one. (Compl.
   ¶ 77.) See Atl. Richfield, 495 U.S. at 344; Cargill, Inc. v. Monfort of Colo., Inc., 479 U.S. 104,
   122 (1986) (“A loss or damage due merely to increased competition does not constitute
   [antitrust] injury.”).



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                        ii. UAC Is Not An “Efficient Enforcer” Of The Antitrust Laws
          Relying on the non-exclusive factors enunciated by the Supreme Court in Associated
   General, the Eleventh Circuit has explained that the “efficient enforcer” standing prong requires
   the trial court to consider the following factors: “(1) the directness or indirectness of the asserted
   injury; (2) the remoteness of the injury; (3) whether other potential plaintiffs were better suited to
   vindicate the harm; (4) whether the damages were highly speculative; (5) the extent which the
   apportionment of damages was highly complex and would risk duplicative recoveries; and (6)
   whether the plaintiff would be able to efficiently and effectively enforce the judgment.”
   Sunbeam, 711 F.3d at 1271. UAC’s complaint does not meet the majority of these factors.
          UAC alleges, without any specificity, that as a result of the purported “hijacking [of] the
   Bitcoin Cash network . . . the value of the cryptocurrency that plaintiff mine[d] in its
   BlockchainDomes has fallen significantly.” (Compl. ¶¶ 1, 77.) Absent from its complaint,
   however, is any quantification of losses or any identification of any lost (actual or potential)
   customer for its products or services. Nor does UAC explain why it could not readily shift its
   mining resources or capabilities to another blockchain. Consequently, UAC cannot be deemed
   an efficient enforcer because its alleged damages (and position in the market) are indirect, highly
   speculative, and too remote.
   II.    UAC Fails To State Plausible Florida State Law Claims For Relief
          UAC pleads four state law causes of action against Kraken and Powell: negligent
   misrepresentation (Count II), negligence (Count III), equitable estoppel (Count IV), and
   conversion (Count VI). (Counts V and VII are not asserted against Kraken or Powell). The
   complaint’s threadbare allegations against Kraken and Powell do not come close to stating a
   claim under any of these theories. Twombly, 550 U.S. at 555 (explaining that “a formulaic
   recitation of the elements of a cause of action will not do”). Because re-pleading would be futile,
   these claims should be dismissed with prejudice. Cockrell v. Sparks, 510 F.3d 1307, 1310 (11th
   Cir. 2007).
          a.      UAC’s Negligent Representation Claim (Count II) Fails
          The complaint fails to allege any of the required elements for a negligent
   misrepresentation claim. To withstand a motion to dismiss, a claim of negligent
   misrepresentation requires particular allegations of facts that if true would establish:
                  (1)      misrepresentation of a material fact;



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                  (2)     that the representor made the misrepresentation without knowledge
                          as to its truth or falsity or under circumstances in which he ought
                          to have known of its falsity;
                  (3)     that the representor intended that the misrepresentation induce
                          another to act on it; and
                  (4)     that injury resulted to the party acting in justifiable reliance on the
                          misrepresentation.
   Ceithaml, 207 F. Supp. 3d at 1353. These allegations must meet the heightened pleading
   standard of Rule 9(b).6 Moreover, a negligent misrepresentation claim predicated on an
   omission mush establish that the speaker had “some fiduciary or fiduciary-like duty to
   disclose the information.” Hawaiian Airlines, Inc. v. AAR Aircraft Servs., Inc., 167 F.
   Supp. 3d 1311, 1322 (S.D. Fla. Mar. 2016).
          UAC’s theory of misrepresentation is that “[a]s participants in the Bitcoin Cash network,
   Defendants represented to [UAC] and the market that they would abide by the Whitepaper and
   accepted standards and protocols.” (Compl. ¶ 87.)7 According to the complaint, this purported
   representation was false because “Defendants implemented a checkpoint that ‘centralized’ what
   should be a decentralized market due to the way the checkpoint was added and its location close
   to the tip of the blockchain.” (Id. ¶ 89.)
          As an initial matter, this type of conclusory group pleading – without any specific
   allegations as to what Kraken or Powell themselves actually said and when – is insufficient as a
   matter of law. See Lane, 2006 WL 4590705, at *5 (requiring allegations as to each defendant
   under Rule 8); Ambrosia Cole & Constr. Co., 482 F.3d at 1317 (same, under Rule 9(b)). The
   complaint does not identify a single specific statement made by Kraken or Powell on this topic at
   any time. This alone requires dismissal of this claim.
          Rather than alleging any affirmative representations by Kraken or Powell, UAC’s theory
   seems to be that they impliedly represented at some point in time that they would abide by the
   “Whitepaper” and other unspecified “standards and protocols.” (See Compl. ¶ 87.) The



   6
     See id. at 1353 (holding that Rule 9(b) “applies to negligent misrepresentation claims” and thus
   “the Complaint must set forth particular allegations about the ‘who, what, when, where, and
   how’ to state a claim for negligent misrepresentation”).
   7
     To the extent UAC bases its negligent misrepresentation claim on a theory of omission, that
   claim fails because UAC has not and cannot allege that Kraken or Powell owed it a fiduciary or
   similar duty of disclosure.


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   complaint supplies no basis whatsoever for implying such an amorphous implied representation.
   It does not specify which actions by Kraken or Powell purportedly gave rise to such an
   implication; it does not allege when such actions took place; and it does not allege which specific
   aspects of the Whitepaper or which “standards and protocols” Kraken or Powell supposedly
   represented they would follow. All these failings are fatal because Florida law requires
   allegations of specific misrepresentations to state a claim sounding fraud; allusions to amorphous
   implied representations are not enough. Postel Indus. Inc. v. Abrams Grp. Contsr., LLC, No.
   6:11–cv–1179–Orl–28DAB, 2012 WL 4194660, at *2 (M.D. Fla. Sept. 19, 2012) (discussing
   negligent misrepresentation as species of fraud); cf. In re Vizio, Inc., Consumer Privacy Litig.,
   238 F. Supp. 3d 1204, 1230 (C.D. Cal. 2017) (recognizing that “[a]n ‘implied’ assertion or
   representation is not enough” under California law).
          Furthermore, even if there were some basis to imply a representation, there is no
   plausible basis to infer it was false. The only allegations against Kraken and Powell are that they
   purportedly: “decided that Kraken would maintain the BCH ticker for the ABC chain;”
   “indicated to users that the SV chain was a high-risk environment;” and “Kraken agreed to
   implement centralized checkpoints.” (Compl. ¶¶ 74, 76.) But there is no allegation that these
   particular actions were contrary to anything in the Whitepaper or any other standards or
   protocols.8 UAC’s vague allegation that the checkpoint “‘centralized’ what should be a
   decentralized market” (id. ¶ 89) does not transmogrify all of Kraken’s and Powell’s purported
   business activities involving Bitcoin Cash into one giant negligent misrepresentation.
          Given that the complaint fails to identify when and how any implied representations were
   made, it also fails to sufficiently allege the second, third, and fourth elements of a negligent
   misrepresentation claim. There is no plausible inference that Kraken or Powell “ought to have
   known” of the falsity of an unspecified implied representation made at some unspecified time
   concerning unspecified “standards and protocols.” That is to say, even if Kraken or Powell had
   made such representations and not adhered to them, UAC fails to allege that the representations
   were false at the time they were made. Nor is there any plausible inference that Kraken or
   Powell intended to induce UAC to act in any way for some unspecified reason – there is no


   8
     The Whitepaper specifically contemplates that nodes “can leave and rejoin the network” when
   voting. (Compl. ¶ 64.) That is exactly what the complaint alleges happened here. Even the
   alleged conduct by other defendants was consistent with the Whitepaper.


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   allegation that Kraken or Powell even knew that UAC existed. Nor could UAC have justifiably
   relied on the unspecified implied representations at issue. See Hawaiian Airlines, Inc., 167
   F.Supp.3d at 1320 (dismissing negligent misrepresentation claim where plaintiff’s “own
   sophistication, intelligence, and information” made reliance “manifestly unreasonable”). These
   critical elements of a negligent misrepresentation certainly are not pleaded with the specificity
   required by Rule 9(b).
          b.      UAC’s Negligence Claim (Count III) Fails
          For many of the same reasons, the complaint also fails to state a negligence claim. “[T]he
   elements of negligence are “duty, breach, causation, and damages.” Florida Dept. of Corr. v.
   Abril, 969 So. 2d 201, 209 (Fla. 2007).
          The complaint does not allege that Kraken or Powell owed any cognizable duty of care to
   UAC. The complaint fails to identify any specific standard of care, and instead rests on a vague
   obligation to “conform to and abide by the Whitepaper and accepted standards and protocols.”
   (Compl. ¶ 94, 95.) This is not a legally cognizable standard of care under Florida law. See
   Lamm v. State St. Bank & Tr., 749 F.3d 938, 948 n.7 (11th Cir. 2014) (requiring plaintiff to
   “point to Florida law establishing the existence of a legal duty”); see also Altenel, Inc. v.
   Millennium Partners, L.L.C., 947 F. Supp. 2d 1357, 1369 (S.D. Fla. 2013) (Williams, J.)
   (explaining that “common law contract principles may bar certain tort claims,” such as where
   expectations are set by contract).
          Nor does UAC allege any breach of this purported duty by Kraken or Powell. The
   complaint’s generalized allegations that “Defendants” failed to abide by the Whitepaper or
   unspecified standards and protocols is insufficient. See Lane, 2006 WL 4590705, at *5 (“By
   lumping all the defendants together in each claim and providing no factual basis to distinguish
   their conduct, the complaint fails to satisfy the minimum standard of Rule 8.”). As for the
   allegations against Kraken and Powell specifically, there is no suggestion that the Whitepaper
   says anything at all about ticker symbols for BCH or checkpoints in the blockchain. In fact, the
   complaint affirmatively alleges that the network upgrade complied with the Whitepaper. It
   alleges that nodes “can leave and rejoin the network,” and that the vote took place “consistent
   with Nakamoto’s Whitepaper.” (Compl. ¶¶ 44, 64.)
          The complaint also fails to allege any injury that was proximately caused by Kraken or
   Powell. See Lipkin v. Norwegian Cruise Line Ltd., 93 F.Supp.3d 1311, 1329-30 (S.D. Fla. 2015)



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   (Williams, J.) (discussing causation requirement for negligence claim); see also Specialty Marine
   & Indus. Supplies, Inc. v. Venus, 66 So. 3d 306, 310-11 (Fla. DCA 1st 2011) (negligent
   misrepresentation claim). According to UAC’s own allegations, Kraken’s and Powell’s actions
   in adopting the BCH ticker symbol and recognizing checkpoints came only after the supposed
   “hostile takeover.” (Compl. ¶ 76.) In sum, this Count must be dismissed.
          c.      UAC’s Equitable Estoppel Claim (Count IV) Fails
          The equitable estoppel Count is not a valid cause of action under Florida law. See, e.g.,
   Bair v. City of Clearwater, 196 So. 3d 577, 584 (Fla. 2d DCA 2016) (“equitable estoppel is a
   defensive doctrine rather than a cause of action”); Agency for Health Care Admin. v. MIED, Inc.,
   869 So. 2d 13, 20 (Fla. 1st DCA 2004) (same); Meyer v. Meyer, 25 So. 3d 39, 43 (Fla. 2d DCA
   2004) (same); Kerivan v. Fogal, 22 So. 2d 584, 586 (Fla. 1945) (“equitable estoppel is not
   designed to aid a litigant in gaining something, but only in preventing a loss”). Equitable
   estoppel merely “‘estops’ or bars a party from asserting something (e.g., a fact, a rule of law, or a
   defense) that he or she otherwise would be entitled to assert.” Major League Baseball v.
   Morsani, 790 So. 2d 1071, 1077 (Fla. 2001). The complaint does not ask the Court to bar
   defendants from any such assertions. As such, this Count must be dismissed too.
          d.      UAC’s Conversion Claim (Count VI) Fails
          The conversion claim must be dismissed because the complaint fails to adequately plead
   any of the elements of conversion, which requires an “(1) act of dominion wrongfully asserted;
   (2) over another’s property; and (3) inconsistent with his ownership therein.” J & J Sports
   Prods, Inc. v. Pit Rest., Inc., Case No. 14-CV-24264-WILLIAMS, 2015 WL 12781196, at *2
   (S.D. Fla. Feb. 20, 2015). Conversion further requires that UAC demand the return of property.
   In re Energy Smart, Inc., 381 B.R. 359, 377 (Bankr. M.D. Fla. 2007) (claim for conversion
   requires allegation of “(i) a right to property; (ii) a demand for the return of that property; and
   (iii) the defendants’ refusal to return the property”).
          Here, there is no allegation that Kraken or Powell asserted “dominion” over any of
   UAC’s property. The complaint does not – and cannot – allege that Kraken or Powell controls
   any of UAC’s Bitcoin Cash cryptocurrency. Nor does it allege that Kraken or Powell themselves
   have any control over the Bitcoin Cash network. The complaint makes that allegation generally
   against “Defendants” (Compl. ¶ 112), but the specific allegations against Kraken and Powell in
   paragraphs 74 and 76 suggest only that they “recognized the ABC chain as the official



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   blockchain of Bitcoin Cash and the ‘winner’ of the network upgrade,” not that they actually
   possess or control it. Moreover, even if the decline in UAC’s business value could be plausibly
   traced to Kraken’s alleged actions, this does not state a claim for conversion. Engaging in
   conduct that “[r]educ[es] the value of someone's ownership interest is not the same as exercising
   dominion over that person’s ownership interest” in their property. Brown v. Vega (In re Vega),
   Adversary No. 6:10–ap–00299–KSJ, 2014 WL 2621118, at *6 (Bankr. M.D. Fla. June 12, 2014).
          Even assuming Kraken or Powell were alleged to have dominion over the Bitcoin Cash
   network – which they do not – the complaint still fails to allege, as it must, that UAC has its own
   property interest in the network. It asserts in conclusory fashion that UAC has “use and
   possessory rights” over “Bitcoin Cash and its blockchain network and market” (Compl. ¶ 112),
   but it neither pleads any facts supporting that conclusion, nor explains the nature of those
   supposed rights. Am. Fed’n of Labor & Cong. of Indus. Orgs. v. City of Miami, Fla., 637 F.3d
   1178, 1186 (11th Cir. 2011) (complaint must “contain enough information regarding the material
   elements of a cause of action to support recovery under some viable legal theory”). To the
   contrary, the complaint is premised on allegations that the Bitcoin Cash network is
   “decentralized” and “democratic.” (See, e.g., Compl. ¶¶ 4, 28-29, 32.)
          As a final matter, the complaint fails to plead a demand for Kraken or Powell to return
   any supposedly converted property, which underscores why a theory of conversion is
   inapplicable to Kraken or Powell. See In re Meridian Asset Mgmt, Inc., 296 B.R. 243, 265
   (Bankr. N.D. Fla. 2003) (dismissing conversion claim where “no allegations that a demand was
   made . . . nor was it shown that a demand would be futile”). The complaint’s failure to plead
   demand is not because a demand would be “futile,” but because neither Kraken nor Powell have
   exercised dominion over any property belonging to UAC that could be returned to UAC. The
   conversion claim fairs no better than the others; it fails too.
                                             CONCLUSION
          For the foregoing reasons, the complaint should be dismissed with prejudice.


   Dated: February 1, 2019                              Respectfully Submitted,

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                                  CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on February 1, 2019, I electronically filed the foregoing with
   the Clerk of the Court by using the CM/ECF system, which will send a notice of electronic filing
   to all counsel of record for the parties.

                                                       /s/ Andrew C. Lourie___________________
                                                       Andrew C. Lourie




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